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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MISSOURI
                             EASTERN DIVISION

DESIRAE LANTRY, et al.,                         )
                                                )
      Plaintiffs,                               )
                                                )
      v.                                        )      Case No. 4:18 CV 1694 RWS
                                                )
CLIENT SERVICES, INC.,                          )
                                                )
      Defendant,                                )

                    ORDER SETTING RULE 16 CONFERENCE

       ATTORNEYS PLEASE NOTE:
       The Court expects you to read and comply with this order in full. When you
appear at the Rule 16 conference the Court will expect you to know your case and be
prepared to discuss all items in this order and in your joint scheduling plan and be
prepared to discuss the facts of your case, and any unusual evidentiary, factual, or
legal issues that are likely to arise. If trial counsel chooses to send a substitute, that
substitute must be fully prepared for the conference.

      Pursuant to the Civil Justice Reform Act Expense and Delay Reduction Plan

and the Differentiated Case Management Program of the United States District

Court of the Eastern District of Missouri,


      IT IS HEREBY ORDERED that:

      1.    Scheduling Conference: The Scheduling Conference pursuant to

Fed.R.Civ.P. 16 is set for Thursday, January 17, 2019 at 10:30 a.m. in my

chambers 16-South. At the scheduling conference counsel will be expected to

appear in person to discuss in detail all matters covered by Fed.R.Civ.P. 16, as well
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as all matters set forth in their joint proposed scheduling plan described in paragraph

3, and a firm and realistic trial setting will be established at or shortly after the

conference.

       2.   Meeting of Counsel: Prior to the date for submission of the joint

proposed scheduling plan set forth in paragraph 3 below, counsel for the parties shall

meet to discuss the following:

!      the nature and basis of the parties= claims and defenses,

!      the possibilities for a prompt settlement or resolution of the case,

!      the formulation of a discovery plan,

!      any issues relating to preserving discoverable information,

!      any issues relating to disclosure or discovery of electronically stored

       information, includingB

              (i) the form or forms in which it should be produced,

              (ii) the topics for such discovery and the time period for which such

discovery will be sought,

              (iii) the various sources of such information within a party=s control that

should be searched for electronically stored information,

              (iv) whether the information is reasonably accessible to the party that

has it, in terms of the burden and cost of retrieving and reviewing the information,




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              (v) the parties must ensure that their clients preserve electronic

discovery materials prior to the Rule 16 Conference, and

              (vi) counsel shall address at the Rule 16 Conference potential electronic

discovery and whether a specific agreement or order must be entered on that issue.

!      any issues relating to claims of privilege or of protection as trial-preparation

       material, including - if the parties agree on a procedure to assert such claims

       after production - whether to ask the Court to include their agreement in an

       order, and

!      other topics listed below or in Fed.R.Civ.P. 16 and 26(f).

       Counsel will be asked to report orally on the matters discussed at this meeting

when they appear before the undersigned for the scheduling conference, and will

specifically be asked to report on the potential for settlement; whether settlement

demands or offers have been exchanged, without revealing the content of any offers

or demands; and, suitability for Alternative Dispute Resolution. This meeting is

expected to result in the parties reaching agreement on the form and content of a

joint proposed scheduling plan as described in paragraph 3 below.

       Only one proposed scheduling plan may be submitted in any case, and it must

be signed by counsel for all parties. It will be the responsibility of counsel for the

plaintiff to actually submit the joint proposed scheduling plan to the Court. If the

parties cannot agree as to any matter required to be contained in the joint plan, the
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disagreement must be set out clearly in the joint proposal, and the Court will resolve

the dispute at or shortly after the scheduling conference.

      3. Joint Proposed Scheduling Plan: No later than January 10, 2019,

counsel shall file with the Clerk of the Court a joint proposed scheduling plan. All

dates required to be set forth in the plan shall be within the ranges set forth

below for the applicable track:
      Track 1: Expedited                  Track 2: Standard                   Track 3: Complex

      *Disposition w/i 12 mos of filing   *Disposition w/i 18 mos of filing   *Disposition w/i 24 mos of filing

      *120 days for discovery             *180-240 days from R16 Conf. for    *240-360 days from R16 Conf
                                          discovery/dispositive motions       for discovery/dispositive motions



The parties= joint proposed scheduling plan shall include:

      (a)       whether the Track Assignment is appropriate; NOTE: This case has

been assigned to Track 2: (Standard).

      (b)       dates for joinder of additional parties or amendment of pleadings;

      (c)       a discovery plan including:

                (i) any agreed-upon provisions for disclosure or discovery of

electronically stored information,

                (ii) any agreements the parties reach for asserting claims of privilege or

of protection as trial-preparation material after production,

                (iii) a date or dates by which the parties will disclose information and

exchange documents pursuant to Fed.R.Civ.P. 26(a)(1),



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              (iv) whether discovery should be conducted in phases or limited to

certain issues,

              (v) dates by which each party shall disclose its expert witnesses=

identities and reports, and dates by which each party shall make its expert witnesses

available for deposition, giving consideration to whether serial or simultaneous

disclosure is appropriate in the case,

              (vi) whether the presumptive limits of ten (10) depositions per side as

set forth in Fed.R.Civ.P. 30(a)(2)(A), and twenty-five (25) interrogatories per party

as set forth in Fed.R.Civ.P. 33(a), should apply in this case, and if not, the reasons

for the variance from the rules,

              (vii) whether any physical or mental examinations of parties will be

requested pursuant to Fed.R.Civ.P. 35, and if so, by what date that request will be

made and the date the examination will be completed,

              (viii) a date by which all discovery will be completed (see applicable

track range, Section 3. above);

              (ix) any other matters pertinent to the completion of discovery in this

case,

        (d)   the parties= positions concerning the referral of the action to mediation

or early neutral evaluation, and when such a referral would be most productive;




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      (e)    dates for the filing of any dispositive motions (see applicable track

range, Section 3. above);

      (f)    the earliest date by which this case should reasonably be expected to be

ready for trial (see applicable track range, Section 3. above);

      (g)    an estimate of the length of time expected to try the case to verdict; and

      (h)    any other matters counsel deem appropriate for inclusion in the Joint

Scheduling Plan.

      4. Disclosure of Corporate Interests: All non-governmental corporate

parties are reminded to comply with Disclosure of Corporate Interests by filing a

Certificate of Interest with the Court pursuant to E.D.Mo. L.R. 2.09.

      5. Pro Se Parties: If any party appears in this action pro se, such party shall

meet with all other parties or counsel, participate in the preparation and filing of a

joint proposed scheduling plan, and appear for the scheduling conference, all in the

same manner as otherwise required by this order.




                                       RODNEY W. SIPPEL
                                       UNITED STATES DISTRICT JUDGE

Dated this 20th day of November, 2018.



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